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                                                                                               7 Attorneys for Lois I. Brady, Trustee

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                                                                                                                             UNITED STATES BANKRUPTCY COURT
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                                                                                                                             NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                                        OAKLAND DIVISION
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                                                                                                   In re                                             Case No. 20-40990-RLE
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                                                                                                   FAIRN & SWANSON, INC.,                            Chapter 7
                                                                                              15

                                                                                              16                        Debtor.                      NOTICE OF INTERIM HEARING ON
                                                                                                                                                     MOTION FOR ORDER [1] APPROVING
                                                                                              17                                                     PRE-SALE STIPULATION, [2]
                                                                                                                                                     AUTHORIZING CHAPTER 7 TRUSTEE
                                                                                              18                                                     TO INCUR POST-PETITION DEBT ON
                                                                                                                                                     AN EMERGENCY BASIS, [3]
                                                                                              19                                                     AUTHORIZING CHAPTER 7 TRUSTEE
                                                                                                                                                     TO PAY DEPOSIT TO SECURE
                                                                                              20                                                     CUSTODIAL SURETY BOND AND [4]
                                                                                                                                                     APPROVING SECURED PARTY'S
                                                                                              21                                                     CARVE-OUT TO THE ESTATE

                                                                                              22                                                     Date:    September 16, 2020
                                                                                                                                                     Time:    2:00 p.m.
                                                                                              23                                                     Place:   By Tele/Audio Conference
                                                                                                                                                     Judge:   The Honorable Roger L. Efremsky
                                                                                              24

                                                                                              25 TO:       DEBTOR, THE UNITED STATES TRUSTEE, THE TWENTY LARGEST
                                                                                                           UNSECURED CREDITORS, WELLS FARGO, NATIONAL ASSOCIATION, AND
                                                                                              26           THOSE PARTIES REQUESTING SPECIAL NOTICE:

                                                                                              27
                                                                                                           PLEASE TAKE NOTICE that an interim hearing will be held on shortened time on the Motion
                                                                                              28


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                                                                                             Case: 20-40990      Doc# 85     Filed: 09/14/20    Entered: 09/14/20 09:40:15      Page 1 of 2
                                                                                                   NOTICE OF HEARING
                                                                                               1 for Order (1) Approving pre-Sale Stipulation, (2) Authorizing Chapter 7 Trustee to Incur Post-

                                                                                               2 Petition Debt on an Emergency Basis, (3) Authorizing Chapter 7 Trustee to Pay Deposit to Secure

                                                                                               3
                                                                                                   Custodial Surety Bond and (4) Approving Secured Party's Carve-Out to the Estate (the "Motion")
                                                                                               4
                                                                                                   filed by LOIS I. BRADY, the duly appointed and acting Chapter 7 trustee ("Trustee") in the above-
                                                                                               5
                                                                                                   captioned estate of Fairn & Swanson, Inc. ("Debtor"), on September 16, 2020, at 2:00 p.m., before the
                                                                                               6
                                                                                                   Honorable Roger L. Efremsky, via tele/audio conference.
                                                                                               7
                                                                                                           This motion is brought under 11 U.S.C. §§ 361, 363, 364(c), 503, and 507; rules 2002,
                                                                                               8
                                                                                                   4001 and 9014 of the Federal Rules of Bankruptcy Procedure; Rules 2002-1 and 9014-1 of the
                                                                                               9
                                                                                                   Bankruptcy Local Rules ("BLR"); and the United States Bankruptcy Court for the Northern
                                                                                              10
                                                                                                   District of California's Guidelines for Cash Collateral & Financing Motions & Stipulations (the
                                                                                              11
                                                                                                   "Guidelines").
                                                                                              12
                                                                                                           PLEASE TAKE FURTHER NOTICE that all interested parties should consult the Bankruptcy
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Wendel Rosen LLP




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                                                                                                   Court’s website at www.canb.uscourts.gov for information about court operations during the COVID-19
                                                                                              14
                                                                                                   pandemic. The Bankruptcy Court’s website provides information regarding how to arrange a telephonic or
                                                                                              15
                                                                                                   video appearance. If you have any questions regarding how to appear at a court hearing, you may contact
                                                                                              16

                                                                                              17 the Bankruptcy Court by calling 888-821-7606 or by using the Live Chat feature on the Bankruptcy Court’s

                                                                                              18 website.

                                                                                              19           PLEASE TAKE FURTHER NOTICE that the requested relief is based upon this Notice,

                                                                                              20 the Motion, supporting declarations, and the Order shortening time, all of which are filed and

                                                                                              21 served via email concurrently herewith. Any objections or responses to the Motion shall be heard

                                                                                              22
                                                                                                   at the time of the hearing.
                                                                                              23
                                                                                                   DATED: September 14, 2020                    WENDEL ROSEN LLP
                                                                                              24

                                                                                              25
                                                                                                                                                By:           /s/ Lisa Lenherr
                                                                                              26                                                       Mark S. Bostick
                                                                                                                                                       Elizabeth Berke-Dreyfuss
                                                                                              27                                                       Lisa Lenherr
                                                                                                                                                       Attorneys for Lois I. Brady, Trustee
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                                                                                             Case: 20-40990         Doc# 85      Filed: 09/14/20      Entered: 09/14/20 09:40:15       Page 2 of 2
                                                                                                   NOTICE OF HEARING                                     2
